                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION

KENNETH PAXTON, as Next Friend of
Alex Reed Paxton, deceased; and KATHRYN
HARTLEY, as Next Friend of Alex Reed
Paxton, deceased, and as Administrator of the
Estate of Alex Reed Paxton,                        Civil Action No.: 4:22-CV-00081-TES

       Plaintiffs,

v.

GEORGIA POWER COMPANY,

       Defendant and Third-
       Party Plaintiff,

v.

GLENN INDUSTRIAL GROUP, LLC,

Third-Party Defendant.


                      PROPOSED AMENDED SCHEDULING AND
                              DISCOVERY ORDER

       The parties held a Rule 26(f) conference on July 13, 2022, and a conference pursuant

to Rule 16, Rule 26, and the Court’s Order on October 12, 2022. In accordance with the

Court’s Rules 16 and 26 Order dated October 4, 2022, the parties to this action conferred and

jointly developed this Proposed Scheduling and Discovery Order (the “Proposed Order”)

containing deadlines and limitations as follows:

I.                                   Nature of the Case:

       Please include a brief description of the nature of the case and the legal issues to be
       tried. This summary should not be argumentative nor recite the evidence, but should
       call the Court’s attention to any unique or complex issues or circumstances
       surrounding the case.




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      This wrongful death case arises from the death of Alex Paxton, who died on October
      27, 2020 while working as a commercial diver at Oliver Dam in Columbus, Georgia.
      Plaintiffs contend that Paxton’s death was caused by Defendant Georgia Power’s
      failure to take reasonable safety precautions relating to the closure of a penstock pipe.
      Plaintiffs contend that Georgia law sets the applicable standard of care.

      Georgia Power denies Plaintiffs’ allegations and denies that it is liable. Georgia Power
      contends admiralty law applies to this suit. Georgia Power has asserted a third-party
      indemnity claim against Glenn Industrial Group, LLC, Alex Paxton’s employer.

      Glenn Industrial Group, LLC denies the allegations in Georgia Power’s Third-Party
      Complaint.

II.                                 Counsel of Record:

      The following individually named attorneys are designated lead counsel for the parties:
      Please include all relevant contact information for each lead counsel or pro se litigant,
      including mailing address, phone number, facsimile number, and email address.

       Counsel for Plaintiffs:                     Counsel for Defendant and Third-Party
       James E. Butler, III                        Plaintiff Georgia Power Company:
       Thomas Giannotti                            T. Joshua R. Archer
       Butler | Kahn                               Tashwanda Pinchback-Dixon
       10 Lenox Pointe                             Andrea L. Swartzberg
       Atlanta, GA 30324                           Balch & Bingham LLP
       Tel. 678-940-1444                           30 Ivan Allen Jr. Boulevard, N.W., Suite
       Fax 678-306-4646                            700
       jeb@butlerfirm.com                          Atlanta, GA 30308
       tom@butlerfirm.com                          Tel. 404-261-6020
                                                   Fax 404-261-3656
                                                   jarcher@balch.com
                                                   tpinchback@balch.com
                                                   aswartzberg@balch.com

                                                   Counsel for Third-Party Defendant Glenn
                                                   Industrial Group, LLC:
                                                   T. Langston Bass, Jr.
                                                   Brennan Harris & Rominger LLP
                                                   P.O. Box 2784
                                                   Savannah, GA 31402
                                                   Tel. 912-233-3399
                                                   Fax 912-236-4558
                                                   tlb@bhrlegal.com




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III.                                 Complaint and Answer filing dates:

       Complaint was filed:          March 11, 2022

       Answer was filed:             April 29, 2022


IV.    Discovery Deadlines:

       A.     Time for Discovery

              The time for discovery in this case shall expire July 17, 2023.

              If a party believes that more time for discovery is needed, an appropriate motion,
              accompanied by a proposed order for the Court, may be filed setting forth good
              cause for an extension.

       B.     Scope of Discovery

              Please state the subjects on which discovery may be needed, when discovery
              should be completed, and whether discovery should be conducted in phases or be
              limited to or focused on particular issues. See Fed. R. Civ. P. 26(b)(1), (f)(3)(B).


              Discovery may be needed regarding the facts and circumstances surrounding the
              subject incident, Plaintiffs’ claims, Defendant’s defenses and third-party claim,
              Plaintiff’s injuries and damages, Third-Party Defendant’s defenses, and other
              issues that may arise as discovery proceeds. The parties do not believe that
              discovery should be conducted in phases or limited to particular issues.

       C.     Electronically Stored Information

              Please discuss any issues about disclosure, discovery, or preservation of
              electronically stored information, including the form or forms in which it should
              be produced. See Fed. R. Civ. P. 16(b)(3)(B)(iii), 26(f)(3)(C).


              At the time of the incident, Georgia Power used a software called “TK Pro” in
              connection its lock-out, tag-out (“LOTO”) procedures. The parties agree that the
              software used is generally subject to discovery.


                 1. Plaintiffs: Plaintiffs ask that Georgia Power produce a copy of the TK Pro
                    software program so that Plaintiffs’ counsel and experts can learn how the
                    software works. Plaintiffs respectfully point out that the fact that




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                         something is “commercially available” does not make it nondiscoverable,
                         and that the TK Pro is generally intended for commercial licenses and is
                         not intended for license to entities like the undersigned’s law firm. 1
                         Plaintiffs had asked whether Georgia Power still possesses a copy of the
                         software but Georgia Power has not answered. 2
                     2. Georgia Power: Georgia Power is aware that Plaintiffs request “a copy”
                        of the TKPro software. TKPro is a third-party software that is
                        commercially available. Georgia Power no longer uses TKPro in
                        connection with its LOTO procedures; therefore, Georgia Power is not a
                        current licensee of the TKPro software in use at the time of the incident.
                        Further, Georgia Power does not believe the Federal Rules of Civil
                        Procedure require Georgia Power to produce third-party commercially
                        available software.

           D.     Privilege Claims
                  Please discuss any issues about claims of privilege or of protection as trial-
                  preparation materials, including – if the parties agree on a procedure to
                  assert these claims after production – whether to ask the Court to include
                  their agreement in an order under Federal Rule of Evidence 502. See Fed. R.
                  Civ. P. 16(b)(3)(B)(iv), 26(f)(3)(D).
                  1. Plaintiffs:
                  The parties possess the expected privileged materials (such as the lawyers’
                  notes and communications with clients) but do not anticipate any unusual issues
                  relating to the discovery of allegedly privileged material.
                  2. Georgia Power & Glenn Industrial:
                  The parties know of no privileged material other than the standard investigative
                  file material prepared in anticipation of litigation containing notes of telephone
                  conversations and general investigative material. The parties agree that they
                  will not try to discover items from the other party’s attorney, investigator or
                  adjuster’s files unless circumstances warrant such a discovery attempt or
                  circumstances change beyond those currently known to the parties.
                  The parties do not seek any order regarding any agreements pertaining to
                  inadvertent disclosure of privileged or trial-preparation materials at this time.




1
    See TK Pro licensing webpage, https://tkprosoftware.com/licensing/.
2
 See Software Correspondence (available at
https://www.dropbox.com/s/v2vq8b5y68z4gyv/2022-10-
26%20Software%20Correspondence.pdf?dl=0) (link updated as of 10/28/22 at 11:07am).



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E.    Witnesses to be Deposed

      Please include the name and address of every witness to be deposed.

     The parties respectfully note that it is not currently possible to identify every
     witness whom they will later seek to depose because the identities of some
     deponents will become known only as the discovery process reveals the names
     and/or roles of those witnesses. The parties also note (and hope) that some of the
     depositions mentioned below may prove unnecessary and may not be taken for that
     reason.
                1. for Plaintiffs:
                • Wayne Hardie (Hydro Manager at Georgia Power Company), 241
                    Ralph McGill Blvd. Atlanta, GA 30308
                • Todd Barber (Dam Safety and Surveillance Supervisor and Chief
                    Dam Safety Engineer at Southern Company Services, Inc.), 241
                    Ralph McGill Blvd. Atlanta, GA 30308
                • Jeff Bradley (Plant Superintendent, Oliver Dam), 241 Ralph
                    McGill Blvd. Atlanta, GA 30308
                • John Callahan (Project Manager, Glenn Industrial Group, LLC),
                    5325 Marshall Air Drive, Charlotte, NC 28217
                • Joshua Cable (Safety Manager, Glenn Industrial Group, LLC),
                    5325 Marshall Air Drive, Charlotte, NC 28217
                • Rolando Garcia (Commercial Diver, Glenn Industrial Group,
                    LLC), 5325 Marshall Air Drive, Charlotte, NC 28217
                • Such other witnesses that are presently unknown to Plaintiffs, but
                    whose identities may be ascertained during the course of discovery
                • Any experts designated by any of the parties during the course of
                    discovery.

                2.   for Georgia Power:
                •    Kenneth Paxton (Plaintiff)
                •    Kathryn Hartley (Plaintiff)
                •    Richard Glenn (President and CEO, Glenn Industrial Group, LLC)
                         o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
                •    Ryan Glenn (Vice President, Glenn Industrial Group, LLC)
                         o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
                •    Eric Herbert (Diving Supervisor, Glenn Industrial Group, LLC)
                         o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
                •    Jacob Kehl (Commercial Diver, Glenn Industrial Group, LLC)
                         o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
                •    Ronaldo Garcia (Commercial Diver, Glenn Industrial Group, LLC)
                         o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
                •    John Callahan (Diving Supervisor, Glenn Industrial Group, LLC)




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        o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
•   Cody DeWitt (Diving Supervisor, Glenn Industrial Group, LLC)
        o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
•   Riley Crysler (Commercial Diver, Glenn Industrial Group, LLC)
        o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
•   Kevin Crouch (Commercial Diver, Glenn Industrial Group, LLC)
        o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
•   J. Moore (Commercial Diver, Glenn Industrial Group, LLC)
        o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
•   J. Gaser (Commercial Diver, Glenn Industrial Group, LLC)
        o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
•   P. Wogan (Commercial Diver, Glenn Industrial Group, LLC)
        o 5325 Marshall Air Drive, Charlotte, North Carolina 28217
•   Joshua Cable (Safety Manager, Glenn Industrial Group, LLC)
        o 5325 Marshall Air Drive, Charlotte, NC 28217
•   Any experts designated by the parties during the course of
    discovery.

3. for Glenn Industrial Group:
• Joey McFadden (Georgia Power employee), 241 Ralph McGill
   Blvd. Atlanta, GA 30308
• Jason Rigsby (Georgia Power employee), 241 Ralph McGill Blvd.
   Atlanta, GA 30308
• Any other Georgia Power employee present at the dam on the date
   of loss, 241 Ralph McGill Blvd. Atlanta, GA 30308
• Any other Georgia Power employee responsible for LOTO
   procedures, 241 Ralph McGill Blvd. Atlanta, GA 30308
• Any other Georgia Power employee responsible for contractual
   procedures with Glenn Industrial, 241 Ralph McGill Blvd. Atlanta,
   GA 30308
• Any responding emergency personnel, Columbus, GA
• Any person who investigated this accident
• Terry Woodward and any other OSHA personnel involved in the
   investigation of this accident, 2296 Henderson Mill Road, NE,
   Suite 200, Atlanta, GA 30345
• Any witness listed by any other party to this case
• Any other witness that is presently unknown to the parties, but
   whose identity may be ascertained during the course of discovery
• Any experts designated by any of the parties during the course of
   discovery




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         F.    Expert Witnesses

    1.   Designation of Experts

                      The Plaintiff must disclose the identity of any expert witness on or
                      before April 17, 2023.

                      The Defendant and Third Party Defendant must disclose the identity of
                      any expert witness on or before May 17, 2023.

    2.   Expert Reports

                      Expert reports shall comply with Federal Rule of Civil Procedure
                      26(a)(2)(B). Any supplemental expert reports must be served on or before
                      June 26, 2023. No additional supplemental reports may be disclosed or
                      provided after this date without leave of Court.

         G.    Discovery Limitations or Need for Protective Order

               The parties agree that requests for admission that are propounded solely to
               authenticate documents as provided for under Federal Rule of Civil Procedure
               36(a)(1)(B) are excluded from Local Rule 36's limitation on the number of
               requests to admit that can be propounded.
               Please include here any other relevant matters, including any matters referenced
               in Rule 26(f).


                      a. Plaintiffs: Plaintiffs do not perceive the need for a protective order
                         but have nonetheless offered a meaningful compromise by offering
                         to enter into a non-sharing protective order with a clawback
                         provision. Plaintiffs offered to do that on July 25, 2022, and have
                         followed up with Georgia Power several times since, 3 but Georgia
                         Power has not responded substantively or attempted to compromise.
                         Plaintiffs do not want to see this ‘issue’ used as an excuse to delay
                         the production of evidence and for that reason have offered to keep
                         any evidence that Georgia Power produces confidential until the
                         Court rules on this issue.


                      b. Georgia Power:       Georgia Power has confidential and highly

3
 See Protective Order Correspondence (available at
https://www.dropbox.com/s/b8kyi2jybp5qax2/2022-10-
20%20PO%20Correspondence.pdf?dl=0) (link updated as of 10/20/22 at 10:24am).




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                      confidential documents that it believes will be subject to discovery
                      in this matter. As a result, Georgia Power believes a Protective
                      Order is necessary. Georgia Power sent Plaintiffs a proposed
                      Protective Order that has been accepted and entered by several state
                      and federal courts. Plaintiffs do not agree with any of Georgia
                      Power’s proposed Protective Order and sent Georgia Power a
                      different proposed Protective Order. Georgia Power does not
                      believe Plaintiffs’ proposed Protective Order is sufficient. Thus, the
                      Parties are currently at an impasse as it relates to the Protective
                      Order issue. As a result, on October 20, 2022, Georgia Power
                      contacted Cheryl Collins and left her a message notifying her of this
                      issue, as required by Section H, below.


                  c. All parties: The parties have consented to fifteen (15) additional
                     Requests for Production and fifteen (15) additional Requests for
                     Admission beyond those allowed by Local Rules 34 and 36. In
                     other words, the parties have consented to each party being allotted
                     a total of twenty-five (25) Requests for Production and thirty (30)
                     Requests for Admission.

     H.    Discovery Disputes

           Before moving for an order relating to discovery, including motions to compel or
           contested motions for protective orders, the movant must contact Cheryl Collins,
           Courtroom Deputy (478.752.2603) to request a telephone conference with the
           Court.

V.   Time for Filing Motions:

     A.    Motions to Amend the Pleadings or to Join Parties

           All motions seeking to amend the pleadings or to join parties must be filed no
           later than January 2, 2023, that being no more than 60 days after the entry of this
           Scheduling and Discovery Order.

     B.    Dispositive Motions

           All dispositive motions must be filed no later than August 15, 2023, that being
           no more than 30 days after the expiration of discovery in this case.




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       C.     Daubert Motions

              All Daubert motions must be filed no later than August 15, 2023, that being no
              more than 30 days after the expiration of discovery in this case.

VI.    Certification of the Parties and Counsel:

       The Parties, by the signature of counsel below, certify they have conferred and discussed
       the nature and basis of their claims and defenses and the possibilities for prompt settlement
       or resolution of the case, pursuant to Local Rule 26(a).

       Counsel further certify they have read the Court’s Rules 16 and 26 Order. All counsel
       of record shall digitally sign below.


       This 16th day of February, 2023.

                                       /s/James E. Butler, III
                                       /s/Thomas Giannotti
                                     __________________________________________
                                     Counsel for Plaintiffs

                                      /s/T. Joshua R. Archer (with express permission)
                                      /s/Tashwanda Pinchback-Dixon (with express permission)
                                      /s/Andrea L. Swartzberg (with express permission)
                                     ________________________________________________
                                     Counsel for Defendant Georgia Power

                                       /s/T. Langston Bass, Jr. (with express permission)
                                     ________________________________________________
                                     Counsel for Third-Party Defendant Glenn Industrial Group


       The Court, having reviewed the information contained in the Proposed Scheduling and

Discovery Order completed and filed jointly by the parties to this action, hereby GRANTS the

parties’ Consent Motion to Amend [Doc. 39] Scheduling and Discovery Order [Doc. 25] and

ADOPTS the parties’ plan and MAKES IT THE ORDER OF THE COURT.

       SO ORDERED, this17th day of February, 2023.

                                                    S/ Tilman E. Self, III
                                                    TILMAN E. SELF, III, JUDGE
                                                    UNITED STATES DISTRICT COURT




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